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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

ZINDA APPLEWHITE,                               )
                                                )
             Plaintiff,                         )
                                                )
             vs.                                )      Case No. 20 C 3214
                                                )
ILLINOIS DEPARTMENT OF HUMAN                    )
SERVICES, GLENDA CORBETT,                       )
CHRISTINE McGEE, and                            )
DARRYL RADER,                                   )
                                                )
             Defendants.                        )


                          MEMORANDUM OPINION AND ORDER

MATTHEW F. KENNELLY, District Judge:

      Zinda Applewhite 1 has filed suit against her former employer the Illinois

Department of Human Services (IDHS), as well as three IDHS supervisors, Glenda

Corbett , Christine McGee, and Darryl Rader, alleging discrimination based on disability.

The defendants have moved for summary judgment. For the reasons stated below, the

Court grants defendants' motion.

                                     Background 2

      Applewhite was employed with IDHS for eleven years and, at the time of her

termination, worked at IDHS's Ludeman Development Center as a Residential Services



1 The Court thanks Jerome F. Crotty of Rieck and Crotty, P.C. for his thorough and

diligent service as appointed counsel for Ms. Applewhite.
2 The factual record the Court considers when ruling on a motion for summary judgment

is framed by the parties' Local Rule 56.1 statements and responses, although the Court
retains discretion to "consider other materials in the record" where appropriate. Fed. R.
Civ. P. 56(c)(3).
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Supervisor. Applewhite suffers from post-traumatic stress disorder, anxiety disorder,

major depressive disorder, bipolar disorder, and schizophrenia. McGee and Rader both

were employed by IDHS as Public Service Administrators at Ludeman during the

relevant time-period. Corbett was employed by lDHS as a Senior Public Service

Administrator.

      On October 6, 2015, Applewhite went on a leave of absence from IDHS for an

unspecific anxiety disorder. On January 5, 2016, McGee and Corbett were on an email

thread where they acknowledged that Applewhite requested medical leave in

September 2015 for "panic disorder/attacks" and discussed if they had a valid basis for

finding her unfit for duty. Pl.'s Resp. Ex. 7. On April 22, 2017, Applewhite went on

FMLA leave.

      On September 25, 2018, Applewhite sought an accommodation in the form of a

new supervisor and work environment. Applewhite's doctor approved her to return to

work on February 21, 2019 "without any restrictions." Pl.'s Resp. to Defs.' L.R. 56.1

Stmt. ¶ 19. On March 4, 2019, Applewhite's request for an accommodation was denied.

She was told the ADA does not cover a "new supervisor and work environment as a

reasonable accommodation" but that she could seek "vacant positions through the bid

process." Id. ¶ 21. The response took note that Applewhite "returned to work without

any restrictions on February 21, 2019 from a continuous non-service connected

disability leave of absence (LOA), which began on April 20, 2017." Id.

      On September 11, 2019, Applewhite and another IDHS employee she

occasionally supervised, Janessa Cross, got into a physical altercation. Applewhite was

arrested on a charge of battery, but the charge was later dropped, and her record was



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eventually expunged. Cross was not arrested or charged.

      An internal investigation of the incident was conducted by IDHS's Bureau of

Internal Investigations. Applewhite, Cross, and Darlyngton Obomanu, an IDHS

employee who witnessed the incident, all gave statements. Cross stated that during a

testy verbal discussion, Applewhite approached her, and Cross held up her hand and

said, "do not come near me." According to Cross, Applewhite slapped Cross's hand

away and then punched her in the face, causing her to fall to the floor, and then got on

top of her and kept hitting her. Cross said she defended herself by hitting back and that

other staff pulled Applewhite off her. Applewhite, by contrast, said that Cross accosted

her and got very close, and as both of them were saying "get out of my face," Cross

slapped Applewhite's glasses off, Applewhite slapped her back, and they both fell to the

floor. Obomanu's account was similar to Cross's. Obomanu stated that Applewhite

approached Cross; Cross held her hands up and said "stay away from me"; Applewhite

hit Cross's hands away and then hit her in the face; Cross tried to push Applewhite

away; they both fell over, with Applewhite on top; and Obomanu pulled Applewhite off

Cross and held her back while Cross went to call an administrator. The investigator

found that Applewhite—and not Cross—had violated IDHS's workplace violence policy

and that Applewhite had been the aggressor. See Defs.' Ex. 12.

      The IDHS investigator issued his report on October 22, 2019. On October 28, a

"pre-disciplinary/pre-termination" meeting was held with Applewhite, whose union

representative was also present, and management representatives, including Rader.

The report of the meeting states that at the meeting's conclusion, management

recommended suspending Applewhite as of October 30 for thirty days, pending



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discharge. See Defs.' Ex. 17. Applewhite's union representative filed a rebuttal to the

recommendation on November 3. Lisa Robinson, Ludeman Center's Director,

suspended Applewhite for thirty days effective November 8, pending discharge.

Robinson found that Applewhite had violated various code of conduct rules, including

the workplace violence rule. See Defs.' Ex. 18. Applewhite was terminated on

December 7, 2019. It does not appear from the record that Cross was disciplined.

      On January 22, 2020, Applewhite filed a charge of discrimination with the Illinois

Department of Human Rights. She selected "disability" as the type of discrimination.

The charge states:

      I started working for Respondent on or around October 2013. Respondent
      was made aware of my disability. During my employment I was
      terminated for an altercation I had with another co-worker when the other
      co-worker was not terminated. I believe I have been discriminated against
      because of my disability, in violation of the American with Disabilit[ies] Act
      of 1990, as amended.

Pl.'s Resp. to Defs.' L.R. 56.1 Stmt. ¶ 46. In her corresponding intake interview, an

Equal Employment Opportunity Commission (EEOC) employee wrote in shorthand,

"PCP is Bipolar-schizophrenia. R[espondent] is aware of CPs Disabil[it]y" and "CP feels

that she has been so stressed due all the issues." Pl.'s Resp. Ex. 12 ("CP" appears to

stand for "complaining party," i.e., Applewhite). The EEOC employee also took note

that Applewhite alleged that defendants did not accommodate her disability and that she

was terminated but her non-disabled co-worker was not.

      On February 5, 2020, the EEOC issued Applewhite a notice of right to sue that

Applewhite received on February 17, 2020. On March 4, 2020, Applewhite sought to be

rehired by IDHS, but her request was denied.

      According to Applewhite, sometime before May 2020 she visited the Dirksen


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Courthouse during normal business hours to file the present lawsuit but was told by a

security guard that the courthouse was closed for new filings for reasons related to the

COVID-19 pandemic. Applewhite testified during her deposition that "I was a week

before the deadline of the filing, and I went downtown with my papers, and that's when it

was on the notice." Applewhite Dep. at 94:21-23. Applewhite testified that she saw

notices in the courthouse, including on the Clerk's drop box, stating that the Court was

not taking new case filings in person. Applewhite testified she was instructed by a

security guard to visit the Court's website for more information on filing a new lawsuit.

Applewhite testified that she learned she could file electronically if she completed an

online training. She testified that she did the training a week before she filed her

complaint and that it took her more than one day to get her complaint on file due to

errors she made in the process that needed to be corrected. Applewhite described

struggling with filing electronically the supporting paper documents she had compiled for

her intended in-person filing. On May 29, 2020, Applewhite filed the present lawsuit.

       On July 9, 2021, a labor arbitration hearing was held involving Applewhite's claim

of wrongful termination. The hearing was not recorded or transcribed. The question

presented at the arbitration was, "did the Employer have just cause to terminate the

employment of the Grievant, Zinda Applewhite? If so, what is the appropriate remedy?"

Defs.' L.R. 56.1 Stmt., Ex. 13 at 2. According to the arbitrator’s order, issued in July

2021 after the filing of the present lawsuit, Obomanu testified and gave the same

account he had provided to the IDHS investigator in 2019. Cross did not testify despite

being subpoenaed. Another witness, Ofonmbuk Akpan, testified that Obomanu could

not have seen the altercation because he was with Akpan, but the arbitrator did not find



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Akpan’s testimony to be credible. Applewhite maintained the story she had told

previously, and the union backed Applewhite's version of the events. The burden of

persuasion in the arbitration was on the employer, IDHS. The arbitrator found for IDHS,

concluding there was just cause for Applewhite's termination.

       The Court stayed proceedings in the present case during the pendency of the

labor arbitration proceedings and ultimately appointed counsel to represent Applewhite

in this case. Applewhite filed her operative complaint, the seventh amended complaint,

on March 6, 2024. She asserts ADA claims against IDHS for disability discrimination

based on her termination, failure to train, failure to accommodate, failure to rehire, and

for maintaining a hostile work environment. Applewhite also asserts claims under 42

U.S.C. § 1983 against defendants Corbett, McGee, and Rader for violating her rights

under the Equal Protection Clause of the Constitution's Fourteenth Amendment.

                                       Discussion

       The defendants have moved for summary judgment on all of Applewhite's claims.

A party is entitled to summary judgment if it demonstrates that "there is no genuine

dispute as to any material fact and [it] is entitled to judgment as a matter of law." Fed.

R. Civ. P. 56(a). A genuine dispute about a material fact exists "if the evidence is such

that a reasonable jury could return a verdict for the nonmoving party." Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A court construes "all facts and draw all

reasonable inferences in the nonmoving party's favor, but the moving party may prevail

by showing an absence of evidence to support the nonmoving party's claims." Lewis v.

Indiana Wesleyan Univ., 36 F.4th 755, 759 (7th Cir. 2022) (internal quotation marks

omitted).



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A.       Timeliness

         Defendants argue that Applewhite's ADA claims are time-barred because she

failed to file her lawsuit within ninety days of receiving her notice of right to sue from the

EEOC.

         "Under the ADA a plaintiff must file suit within ninety days of receiving notice of

his right to sue." Lloyd v. Swifty Transp., Inc., 552 F.3d 594, 600 (7th Cir. 2009). It is

undisputed that Applewhite's complaint was not filed within the ninety-day period.

Applewhite says she received her right to sue letter on February 17, 2020, and she filed

her lawsuit on May 29, 2020, 102 days later.

         Applewhite argues that equitable tolling is appropriate here, asserting that the

delay was caused by court-imposed COVID-19 restrictions. According to Applewhite,

she visited the Dirksen Federal Courthouse in April or May 2020 and was told she could

not file her complaint in person. Applewhite testified that she had to spend time

completing training on e-filing and learning how to input her materials on the Court's

system before she was eventually able to file her complaint on May 29, 2020.

         "The threshold necessary to trigger equitable tolling is very high, lest the

exceptions swallow the rule." Lombardo v. United States, 860 F.3d 547, 551 (7th Cir.

2017) (internal quotation marks and alterations omitted). Equitable tolling "is reserved

for situations in which the claimant has made a good faith error (e.g., brought suit in the

wrong court) or has been prevented in some extraordinary way from filing his complaint

in time." Threadgill v. Moore U.S.A., Inc., 269 F.3d 848, 850 (7th Cir. 2001).

         It is undisputed that Applewhite's ninety-day filing deadline ran during the height

of the COVID-19 pandemic. She has testified that she attempted to file her complaint in



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person—within the ninety-day period—but was rebuffed by security personnel, who said

in-person filing could not be done at the time. Defendants cite various versions of the

court's General Order 20-0012 that were in effect and available online and that

permitted pro se litigants to file new cases by emailing the Clerk's Office and also

permitted pro se plaintiffs to file their complaints via the mail. On the other hand,

Applewhite has testified that she was required to go through training before being

allowed to e-file and that through no fault of her own she could not get this done within

the ninety-day period.

         The Court concludes that there is a genuine factual dispute regarding the

application of equitable tolling. Specifically, there is evidence that Applewhite made a

good faith and diligent effort to get her complaint on file on time but was prevented from

doing so by impediments outside her control arising from the pandemic.        For this

reason, defendants are not entitled to summary judgment on the ADA claims on this

particular basis.

B.       Exhaustion

         Defendants argue that Applewhite failed to exhaust administrative remedies on

all of her ADA claims except for her claim for wrongful termination. They point to the

absence of any reference in her EEOC charge to her claims of failure to train, failure to

accommodate, failure to rehire, and maintaining a hostile work environment.

Applewhite argues that, as unrepresented individual at the time her charge was filed,

the Court should read her EEOC charge to include these claims. Applewhite further

asks the Court to consider the contents of her EEOC interview in determining what

claims she presented to the agency.



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       A plaintiff asserting a claim under the ADA must exhaust administrative remedies

by filing a charge with the EEOC before filing suit in court. See Riley v. City of Kokomo,

909 F.3d 182, 189 (7th Cir. 2018). "The primary purpose of the EEOC charge

requirement is twofold: it gives the EEOC and the employer a chance to settle the

dispute, and it gives the employer notice of the employee's grievances." Huri v. Off. of

the Chief Judge of the Cir. Ct. of Cook Cnty., 804 F.3d 826, 831 (7th Cir. 2015). The

scope of the EEOC charge "limits the scope of subsequent civil proceedings in federal

court." Reynolds v. Tangherlini, 737 F.3d 1093, 1099 (7th Cir. 2013).

       On Applewhite's EEOC charge, she checked the box for disability discrimination.

In support, the charge stated only the following:

       I started working for Respondent on or around October 2013. Respondent
       was made aware of my disability. During my employment I was
       terminated for an altercation I had with another co-worker when the other
       co-worker was not terminated. I believe I have been discriminated against
       because of my disability, in violation of the [ADA]

Pl.'s Resp. to Defs.' L.R. 56.1 Stmt. ¶ 46. In short, the charge was limited to

Applewhite's claim for wrongful termination.

       Applewhite asks the Court to consider her EEOC intake interview in addressing

defendants' exhaustion defense. It is arguably "an open question in this circuit whether

a pro se plaintiff is bound by a formal charge if critical information supplied to the

agency was omitted." Wojtanek v. Pactiv LLC, 492 F. App'x 650, 652–53 (7th Cir.

2012). But the notes of Applewhite's intake interview reflect that it was almost entirely

focused on the altercation with Cross and Applewhite's resulting termination. There is a

brief reference to Applewhite's "doctor request[ing] a less hostile work environment

when she returned to work" in February 2019 and a statement by Applewhite that she

had been "stressed due to all the issues," Pl.'s Ex. 12. But the interview notes do not
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suggest that Applewhite claimed she was subjected to an actionably hostile work

environment or that she was denied an accommodation. In the Court's view, the brief

comments in the intake interview are insufficient to tee up claims for failure to

accommodate or for a hostile work environment. And the interview makes no mention

at all of any claimed failure to train. Finally, Applewhite testified during her deposition

that the EEOC charge—which, again, referenced only a claim for wrongful termination—

"completely represent[ed] her allegations against IDHS." Applewhite Dep. at 48:1-4.

Given this evidence, the Court concludes that Applewhite failed to exhaust any of her

ADA claims other than her wrongful termination claim.

C.     Claims against IDHS

       Defendants argue that IDHS is entitled to summary judgment on Applewhite's

ADA termination claim because no reasonable juror could find that she was

discriminated against based on her disability. First, defendants argue that Applewhite

cannot show that she is disabled or a qualified individual. Second, defendants argue

that IDHS had a legitimate, non-discriminatory basis for terminating Applewhite's

employment.

       1.     Qualified individual with a disability

       The ADA prohibits "discrimination against a qualified individual on the basis of

disability." Li v. Fresenius Kabi USA, LLC, 110 F.4th 988, 995 (7th Cir. 2024) (internal

quotation marks omitted). Defendants argue that Applewhite cannot show that she was

disabled or a qualified individual at the time of her termination.

       The ADA defines disability as: "(A) a physical or mental impairment that

substantially limits one or more major life activities of [an] individual; (B) a record of



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such an impairment; or (C) being regarded as having such an impairment." 42 U.S.C.

§ 12102(1). A "major life activity" includes "caring for oneself, performing manual tasks,

seeing, hearing, eating, sleeping, walking, standing, lifting, bending, speaking,

breathing, learning, reading, concentrating, thinking, communicating, and working." 42

U.S.C. § 12102(2)(A).

       Defendants argue that because Applewhite's doctor permitted her to return to

work without restrictions, she no longer had a disability at the time of her termination.

That's ridiculous. A condition—including a psychiatric condition—does not have to

directly impact an individual every waking hour before it counts as a disability. Though

there is older caselaw suggesting that intermittent impairments do not qualify under the

ADA, see, e.g., Vande Zande v. State of Wis. Dep't of Admin., 44 F.3d 538, 544 (7th

Cir. 1995), the value of that precedent is significantly diminished by the 2008

amendments to the statute, which expanded the definition of disability to include

"episodic" and "transitory" impairments if they substantially limit a major life activity

when active. See, e.g., Gogos v. AMC Mechanical Sys., Inc., 737 F.3d 1170, 1172-73

(7th Cir. 2013) (citing 42 U.S.C. § 12102(3)(B) & (4)(D)). Because there is evidence

that Applewhite's mental health conditions substantially limit her life activities, including

thinking, working, and concentrating, a reasonable jury could find that she is disabled

within the meaning of the ADA.

       Next, defendants argue that Applewhite is not a "qualified individual" under the

ADA because she engaged in violent behavior contrary to the IDHS's anti-violence

policy. To be a qualified individual under the statute, a plaintiff must "be able to perform

the essential functions of her job with or without reasonable accommodation." Li, 110



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F.4th at 995 (internal quotation marks omitted). Defendants do not dispute that

Applewhite returned to work without any restrictions from her provider. They also do not

dispute that, following her return from leave, Applewhite performed her duties without

incident until the date of the altercation. And finally, defendants do not dispute that

Applewhite returned to work and continued to perform her duties without incident even

after the altercation for almost three months until she was terminated. This evidence is

sufficient to permit a reasonable jury to find that Applewhite was a qualified individual.

       Defendants correctly note that the ADA does not run in "favor of employees who

commit or threaten to commit violent acts." Palmer v. Cir. Ct. of Cook Cnty., 117 F.3d

351, 353 (7th Cir. 1997). In addition, "[v]iolation of a workplace rule, even if it is caused

by a disability, is no defense to discipline up to and including termination." Budde v.

Kane Cnty. Forest Pres., 597 F.3d 860, 862 (7th Cir. 2010). But the theory of

Applewhite's case is that defendants were motivated to terminate her due to her

disability and used her altercation with Cross as a pretext for terminating her

employment, which the Court addresses in the section below. The defendants are not

entitled to summary judgment on the basis that Applewhite was not a qualified individual

in the first place.

       2.      Legitimate, nondiscriminatory reason; pretext

       Defendants' primary contention is that Applewhite cannot prove discriminatory

intent because they had a legitimate reason for terminating her employment—

specifically, her initiation of workplace violence.

       To make a prima facie case of discrimination under the often-used burden-

shifting framework established in McDonnel Douglas Corp. v. Green, 411 U.S. 792



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(1973), a plaintiff must show that (1) she is disabled, (2) was meeting her employer's

legitimate employment expectations, (3) suffered an adverse employment action, and

(4) "similarly situated employees without a disability were treated more favorably."

Dickerson v. Bd. of Trs. of Cmty. Coll. Dist. No. 522, 657 F.3d 595, 601 (7th Cir. 2011)

(internal quotation marks and citations omitted). If a plaintiff makes the required

showing, then the burden shifts to the employer to articulate a legitimate, non-

discriminatory reason for its actions. If the employer does so, the burden shifts back to

the employee to show that the employer's proffered reason is a pretext for

discrimination. See, e.g., Li, 110 F.4th at 994.

       The Court addressed the first part of the prima facie case test in the previous

section, and the third part—adverse action—is plainly satisfied. The second and fourth

parts of the test merge, because although Applewhite was found to have committed

misconduct (and thus to have fallen short of IDHS's legitimate expectations), she

contends that she was treated more harshly than similarly situated employees who were

not disabled. See, e.g., Orton-Bell v. State of Indiana, 759 F.3d 768, 777 (7th Cir.

2014); Lucas v. Chi. Transit Authority, 367 F.3d 714, 728 (7th Cir. 2004). See also,

e.g., Jordan v. Evans, No. 22-1316, 2024 WL 2271939, at *2 (7th Cir. May 20, 2024).

And because IDHS's proffered reason for terminating Applewhite arises from the same

misconduct allegations, these questions effectively merge with the question of whether

IDHS's stated reason is pretextual. See, e.g., Fredericks v. Adventist La Grange Mem.

Hosp., 580 F. App'x 477, 478 (7th Cir. 2014); Senske v. Sybase, Inc., 588 F.3d 501, 507

(7th Cir. 2009).

       Applewhite cites as similarly situated Cross, the employee with whom she had



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the altercation, and another IDHS employee, Levita Jones, who Applewhite contends

was found to be the instigator of a workplace altercation, did not have a disability, and

was not terminated. Regarding Jones, there is insufficient information to determine that

a reasonable jury could find her similarly situated. The only evidence Applewhite cites

regarding the Jones incident is relatively brief testimony by Rader during his deposition.

Rader testified that the incident involved workplace violence and that he recommended

Jones for termination, but the regional director of human resources did not accept the

recommendation. But nothing in Rader's testimony—which is all that Applewhite cites

regarding the Jones incident—indicates that Jones was found to have instigated the

altercation. And Rader indicated that the ultimate determination by human resources

not to terminate Jones's employment came after a number of witnesses recanted their

original statements regarding the incident. See Rader Dep. at 28:12-30:9. Finally,

there's no indication that the HR higher-ups who overruled Rader on terminating Jones

had anything to do with Applewhite's termination, thus cutting against the proposition

that IDHS's allegedly differential treatment of Jones is actually comparable to

Applewhite’s situation. Under the circumstances, there is insufficient evidence to permit

a reasonable jury to find Jones similarly situated to Applewhite.

         Applewhite also says that Cross is similarly situated but was not terminated.

Defendants argue that Cross is not similarly situated because she was not the instigator

of the violence—Applewhite was. The parties' dispute about this factor tracks their

dispute over whether IDHS's stated basis for terminating Applewhite is pretextual, which

is why this point merges with the pretext inquiry. The Court therefore proceeds to that

issue.



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       "Pretext requires more than showing that the [employer's] decision was mistaken,

ill considered or foolish, and so long as the employer honestly believes those reasons,

pretext has not been shown." Formella v. Brennan, 817 F.3d 503, 513 (7th Cir. 2016)

(citation omitted). Applewhite can "demonstrate pretext directly by showing that ‘a

discriminatory reason more likely motivated [her] termination, or indirectly by showing

that [IDHS's] explanations are unworthy of credence." Texas Dep't of Cmty. Affairs v.

Burdine, 450 U.S. 248, 256 (1981) (internal quotation marks omitted).

       In this regard, the Court does not consider the labor arbitrator's 2021 decision

upholding Applewhite's discharge. The arbitrator considered only whether there was

just cause; there is no indication that the question of disparate application of IDHS's

rules was at issue. Applewhite objects to consideration of the arbitrator's decision, and

her point is likely well-taken. 3 The arbitrator’s ruling is hearsay if offered to prove that

IDHS had just cause. And there is no legitimate non-hearsay purpose to admit the

ruling, as it came long after IDHS's decision to discharge Applewhite and thus could not

possibly have any bearing on the relevant decision makers' state of mind when they

approved her discharge. The arbitrator’s decision theoretically could be admissible

under Federal Rule of Evidence 803(8), but defendants do not argue that point and thus

have forfeited it for present purposes. That aside, even if admissible under Rule 803(8),

the decision would be subject to exclusion under Federal Rule of Evidence 403 as more



3 Alexander v. Gardner-Denver Co., 415 U.S. 36 (1974), states that an arbitrator's just

cause decision may be admitted in a suit involving employment discrimination, but it
says the weight to be given to it depends on the circumstances, including whether the
arbitrator's decision gave full consideration to the employee's statutory protection
against discrimination. Id. at 60 n.21. There is no indication that occurred here. The
arbitrator's decision did not address the question of discriminatory application of
discipline. See Defs.' Ex. 13.
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unfairly prejudicial than probative, as admission of the decision—which is premised

upon determinations of the credibility of Applewhite and other key witnesses—

effectively would usurp the role of the jury. One way or another, the Court does not

consider the arbitrator's decision in addressing defendants' summary judgment motion.

       Back to the issue of pretext. There is no question that instigation of workplace

violence is a legitimate reason for discharge. Applewhite argues that IDHS got it wrong

and that Cross was the aggressor and she simply defended herself. This argument is

misplaced. In assessing pretext, the focus is on whether the employer's stated reason

for its actions is honest, not whether it is well-reasoned, wise, or accurate. See, e.g.,

Gates v. Caterpillar, Inc. 513 F.3d 680, 691 (7th Cir. 2008). In other words, the question

is whether the decision makers honestly believed that Applewhite had been the

aggressor. No reasonable jury could find they did not. The decision makers were not

present during the incident. The evidence is clear that they relied on the findings from

the internal investigation, which concluded that Applewhite had initiated the violence by

slapping and then hitting Cross. The Court cannot and does not say whether the

investigation got it right, but the relevant point for present purposes is that there is no

basis to say that the decision makers who approved Applewhite’s discharge did not

honestly believe she had initiated workplace violence.

       Applewhite cites evidence that higher-ups had been looking for a reason to

discharge her, but that does not provide a basis for a reasonable fact finder to doubt the

veracity of IDHS's reliance on the internal investigation's findings (and Applewhite points

to no evidence suggesting that the investigation itself was tainted). In other words, if

Applewhite actually gave IDHS a legitimate basis to terminate her employment—as the



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internal investigation concluded—the fact that this played into the hands of higher-ups is

of no consequence.

       The existence of a legitimate basis for termination would not end the inquiry if

Applewhite had evidence that would permit a reasonable jury to find that other similarly

situated non-disabled IDHS employees were let off with something short of termination.

But as discussed earlier, Applewhite has offered no such evidence. All she points to is

the Jones incident. As the Court has discussed, there is an insufficient basis on the

record before the Court for a reasonable jury to find Jones's situation similar enough to

Applewhite's to be comparable.

       For these reasons, the Court concludes that no reasonable jury could find in

Applewhite's favor on her ADA claim.

       3.     Totality of the evidence

       Under Ortiz v. Werner Enterprises, Inc., 834 F.3d 760, 765 (7th Cir. 2016), a

court may forego the McDonnell Douglas burden-shifting analysis and instead consider

the evidence "as a whole" to determine whether it would permit a reasonable fact finder

to conclude that a proscribed factor—here disability—caused the plaintiff's discharge.

Following an Ortiz-type analysis would not lead to any different result here. No

reasonable jury could conclude that the decision makers who decided to terminate

Applewhite's employment were motivated by her disability, as opposed to their belief

that she had initiated violence in the workplace.

D.     Claims against individual defendants

       Defendants argue that the individual defendants are entitled to summary

judgment on Applewhite's section 1983 claims. "Section 1983 creates a cause of action



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against every person, who, under color of any statute, ordinance, regulation, custom, or

usage, of any State or Territory or the District of Columbia, subjects, or causes to be

subjected, any citizen of the United States or other person within the jurisdiction thereof

to the deprivation of any rights, privileges, or immunities secured by the Constitution

and laws." Knight v. Wiseman, 590 F.3d 458, 462 (7th Cir. 2009) (internal quotation

marks omitted). To "recover damages under § 1983, a plaintiff must establish that a

defendant was personally responsible for the deprivation of a constitutional right." Id.

(internal quotation marks omitted).

       Applewhite's section 1983 claim arises under the Equal Protection Clause of the

Fourteenth Amendment. A governmental actor may not discriminate against an

individual based on her disability without a rational basis. See City of Cleburne v.

Cleburne Living Ctr., 473 U.S. 432, 448 (1985); Stevens v. Ill. Dep't of Transp., 210 F.3d

732, 737 (7th Cir. 2000). But the Constitution requires a plaintiff to establish intentional

discrimination. See, e.g., Erickson v. Bd. of Govs. Of State Colleges and Univs. for Ne.

Ill. Univ., 207 F.3d 945, 950 (7th Cir. 2000). Applewhite's wrongful termination claim

against the individual defendants therefore fails for the same reasons discussed with

respect to her ADA claim against IDHS; there is no evidence that would permit a

reasonable jury to find that her disability motivated her discharge.

       As for Applewhite's claims of failure to accommodate and failure to train, section

1983, unlike the ADA, does not require exhaustion of administrative remedies. But the

Equal Protection Clause prohibits only discriminatory treatment; it does not include an

affirmative accommodation requirement. See, e.g., Arce v. Chi. Transit Authority, 193

F. Supp. 3d 875, 893-94 (N.D. Ill. 2016), aff'd, 738 F. App'x 355 (7th Cir. 2018)



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(collecting cases); Terrell v. Benzel, No. 22-CV-64, 2022 WL 1641145, at *3 (W.D. Wis.

May 24, 2022). See generally Bd. of Trs. of Univ. of Ala. v. Garrett, 531 U.S. 356, 367-

68 (2001) ("States are not required by the Fourteenth Amendment to make special

accommodations for the disabled, so long as their actions toward such individuals are

rational.").

       For these reasons, the individual defendants are entitled to summary judgment

on Applewhite's section 1983 claims.

                                       Conclusion

       For the reasons stated above, the Court grants defendants' motion for summary

judgment [dkt. no. 151]. The Court directs the Clerk to enter judgment stating: This

case is dismissed with prejudice.

Date: December 23, 2024

                                                ________________________________
                                                     MATTHEW F. KENNELLY
                                                     United States District Judge




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